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                        UNITED STATES OF AMERICA

 IN THE DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

DANIEL MCLEOD,

                   Plaintiff,                               Case No. 24-12407

-v-

ENNIS CENTER FOR CHILDREN, INC.,

               Defendant.
____________________________________/

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____________________________________/



              COMPLAINT AND DEMAND FOR JURY TRIAL

      NOW COMES the plaintiff, Daniel McLeod, by and through his counsel,

The Niskar Law Firm, PLLC, and for his complaint against the defendant

respectfully states unto this Honorable Court as follows:
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                   A. Statement of Jurisdiction and Venue

1.   Plaintiff is a resident of the County of St. Clair, State of Michigan.

2.   Defendant, Ennis Center for Children, Inc., is a Michigan corporation with

     its principal place of business located in the City of Flint, County of

     Genesee, State of Michigan, which regularly conducts operations within the

     geographic region constituting the Eastern District of Michigan, Southern

     Division.

3.   The pertinent events giving rise to this cause of action occurred in whole or

     substantial part in the Counties of Genesee and St. Clair, in the State of

     Michigan, and thus within the Eastern District of Michigan, Southern

     Division.

4.   As the defendant regularly conducts its operations in, and all pertinent

     events giving rise to this action occurred within the Eastern District of

     Michigan, Southern Division, this Honorable Court possesses personal

     jurisdiction over the defendant, and venue is proper pursuant to 28 USC §

     1391.

5.   Plaintiff alleges violations of the Family & Medical Leave Act of 1993, 29

     USC § 2601, et seq. (“FMLA”) and Section 504 of the Rehabilitation Act of

     1973, 29 USC § 794, et seq. ("the Rehabilitation Act"). Therefore, this

     Honorable Court possesses original subject matter jurisdiction pursuant to

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      28 USC § 1331, 29 USC § 2617(a)(2) and 29 USC § 794a [adopting 42

      USC § 2000e-5(f)(3)]. This Honorable Court possesses supplemental

      jurisdiction over plaintiff’s state law claims pursuant to 28 USC § 1367.


                               B. Factual Allegations

Plaintiff incorporates all prior averments, as if fully set forth herein.

6.    Plaintiff was hired by defendant on or about January 21, 2023.

7.    Plaintiff worked for defendant as a care aid (which was sometimes referred

      to as a case aid).

8.    Defendant employed 50 or more employees at plaintiff’s work site, or

      alternatively, within a 75 mile radius of the location of plaintiff’s work site,

      for each working day during each of 20 or more calendar workweeks in the

      year 2023.

9.    Defendant employed 50 or more employees at plaintiff’s work site, or

      alternatively, within a 75 mile radius of the location of plaintiff’s work site,

      for each working day during each of 20 or more calendar workweeks in the

      year 2024.

10.   Plaintiff last worked for defendant on December 22, 2023.

11.   As of December 22, 2024, plaintiff had provided defendant with notice of

      his need for leave of absence due to his medical condition(s).


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12.   Plaintiff worked more than 1250 hours for defendant in the 12 months

      leading up to January 21, 2024.

13.   Plaintiff suffered/suffers from a medical condition which involved plaintiff

      experiencing a severe abdominal hernia. The condition resulted in plaintiff

      having a feeding tube inserted and being fed through a feeding tube for 3-4

      months, caused significant weight loss, caused muscle wasting, caused

      weakness, and caused plaintiff to undergo surgery.

14.   Due to his condition, defendant designated plaintiff as being on a leave of

      absence effective January 4, 2024.

15.   Plaintiff underwent surgery for his condition on or about January 15, 2024.

16.   Plaintiff attempted to return to work on Monday, March 18, 2024, which

      was the first work day following his last day of leave on Friday, March 15,

      2024.

17.   As of March 15, 2024, plaintiff was under a temporary weight lifting

      restriction which did not prevent him from performing the essential

      functions of his job either with or without reasonable accommodation.

18.   As of March 15, 2024, plaintiff was able to perform the essential functions

      of his job either with or without reasonable accommodation.

19.   On March 18, 2024, defendant terminated plaintiff’s employment in whole

      or in substantial part due to his weight lifting restriction.

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20.   Defendant terminated plaintiff’s employment, in whole or in substantial part

      because of his period of absence between December 22, 2023 and March

      15, 2024.

21.   Plaintiff’s absences from December 22, 2023 to the first anniversary of his

      hire of January 21, 2024 (or alternatively January 23, 2024) were protected

      as a reasonable accommodation by the Rehabilitation Act.

22.   Plaintiff’s absences from January 21, 2024 (or alternatively January 23,

      2024) to March 18, 2024 were protected by the FMLA, as well as the

      Rehabilitation Act.

23.   Defendants utilized plaintiff’s period of absence from December 22, 2023 to

      and including March 15, 2024 as a basis for and/or as a negative factors in

      its decision to terminate plaintiff’s employment.

24.   Defendant terminated plaintiff’s employment in violation of the

      entitlement/interference provisions, and anti-retaliation provisions of the

      FMLA, and the regulations promulgated thereunder.

25.   Defendant terminated plaintiff’s employment in violation of his rights under

      the Rehabilitation Act and PWDCRA.

26.   Defendant knew, or should have known, that plaintiff’s termination violated

      the FMLA, the Rehabilitation Act and/or the PWDCRA.

27.   Defendant did not act in good faith toward plaintiff, and likewise did not act

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      under a reasonable belief that it was complying with the FMLA.


        C. Count I – Violation(s) of the Family and Medical Leave Act,
                            29 USC § 2601, et seq.

Plaintiff incorporates all prior averments, as if fully set forth herein.

28.   Plaintiff qualified as, and was an eligible employee of the defendant under

      the FMLA by January 21, 2024 (or alternatively January 23, 2024), and the

      regulations promulgated thereunder.

29.   Defendant qualified as, and was an employer of the plaintiff under the

      FMLA, and the regulations promulgated thereunder.

30.   Plaintiff was qualified for the job position he held with defendant.

31.   As of January 21, 2024 (or alternatively January 23, 2024), plaintiff was

      qualified for FMLA leave under 29 USC § 2611 and 29 USC § 2612.

32.   Plaintiff’s medical condition(s) requiring the aforementioned leave of

      absence constituted a “serious health condition” or “serious health

      conditions” within the meaning of 29 USC § 2612 and 29 CFR §§ 825.113-

      115.

33.   Plaintiff provided defendant with adequate, timely and sufficient notice

      under the circumstances of his need for leave under the FMLA.

34.   Prior to terminating plaintiff, defendant did not make proper inquiry to

      determine if the plaintiff’s absence and/or reinstatement rights was/were

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      subject to rights and protections under the FMLA and/or the regulations

      promulgated thereunder, and/or likewise did not act under a reasonable

      belief that it was complying with the FMLA, and regulations promulgated

      thereunder when it refused plaintiff his reinstatement rights following his

      leave of absence.

35.   Defendant engaged in conduct prohibited under the FMLA, and the

      regulations promulgated thereunder, including but not limited to:

      a.    Improperly denying the plaintiff leave rights under the FMLA;
      b.    Improperly terminating the plaintiff in violation of the FMLA;
      c.    Improperly failing to timely, fully and properly reinstate plaintiff to
            his prior job position, or an equivalent position at the conclusion of
            his FMLA leave;
      d.    Improperly failing to maintain the plaintiff’s employment benefits
            during the time period plaintiff was entitled to under the FMLA;
      e.    Improperly failing to timely, adequately and appropriately comply
            with the regulations promulgated under the FMLA;
      f.    Improperly interfering with the plaintiff’s leave and reinstatement
            rights under the FMLA;
      g.    Improperly and unlawfully retaliating against plaintiff for exercising
            his rights and protections under the FMLA, and the regulations
            promulgated thereunder;
      h.    Improperly utilizing FMLA-protected absences and/or plaintiff’s
            exercise of rights under the FMLA as a negative factor in the decision
            to terminate plaintiff’s employment; and
      i.    Wilfully, intentionally, and purposely violating the plaintiff’s rights
            under the FMLA, and otherwise engaging in bad faith violations of
            the FMLA, as well as violating the requirements of the FMLA
            without reasonable basis to conclude its actions complied with the
            FMLA.

36.   As a direct and proximate result of the defendant’s violations of the FMLA

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      and the regulations promulgated thereunder, plaintiff has incurred all

      damages available at law, both past, present and into the future, specifically

      including all damages set forth in 29 USC § 2617, including but not limited

      to lost wages, lost overtime wages, the value of lost employment benefits,

      loss of other compensation denied and lost, consequential damages, any

      incurred medical expenses, interest, costs of litigation, attorney fees and

      liquidated damages equal to the sum set forth in 29 USC § 2617. Plaintiff

      hereby seeks recovery of, and is entitled to recovery of, all such damages

      incurred, and those that will be incurred in the future (including front-pay).

37.   In the event the Court deems reinstatement to be a remedy more appropriate

      than front-pay for future damages, then plaintiff, in the alternative, hereby

      seeks an injunctive order compelling defendant to reinstate plaintiff to his

      former position, compelling defendant to retroactively restore plaintiff's

      seniority rights and/or opportunities for promotion, declaring that the

      defendant violated the FMLA in the aforementioned ways, enjoining

      defendant from further violations of the FMLA against plaintiff and others,

      enjoining defendant from taking any adverse employment action against

      plaintiff in retaliation for exercising her rights under the FMLA, and

      enjoining defendant from taking any adverse employment action against

      plaintiff except upon a showing of just and good cause by clear and

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      convincing evidence. Even if the Court orders such reinstatement, plaintiff

      nevertheless is entitled to recover, and hereby seeks recovery of all other

      damages listed in this complaint, including back-pay, compensatory

      damages, the value of lost benefits, consequential damages, the costs of any

      medical care, attorney fees, liquidated damages, costs, interest, etc.


  D. Count II – Violation(s) of Section 504 of the Rehabilitation Act of 1973,
               29 USC § 794, et seq. (“the Rehabilitation Act”)

Plaintiff incorporates all prior averments, as if fully set forth herein.

38.   At all pertinent times, plaintiff was an “otherwise qualified individual with a

      disability” as defined and contemplated by the Rehabilitation Act, 29 USC §

      794(a).

39.   At all pertinent times, defendant was a program or activity as defined and

      contemplated by the Rehabilitation Act, 29 USC § 794(a)-(b).

40.   At all pertinent times, defendant was subject to the requirements and

      prohibitions contained within the Rehabilitation Act, specifically including

      the prohibition against exclusion from participation in the program or

      activity, denial of the benefits of the program or activity, and/or

      discrimination because of disability.

41.   Plaintiff was qualified for the job position he held with defendant.

42.   Defendant failed and/or refused to provide plaintiff with one or more

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      reasonable accommodation(s), including full leave rights, full reinstatement

      rights, and additional leave rights as needed; terminated his employment

      due to the leave time plaintiff took and/or needed as an accommodation;

      failed to timely and properly reinstate plaintiff into his job position; and/or

      failed to afford plaintiff additional leave time as a reasonable

      accommodation (if needed).

43.   Defendant violated the Rehabilitation Act by, and is liable to plaintiff under

      the Rehabilitation Act for:

      a.    taking the aforementioned adverse employment action(s) against
            plaintiff solely because of his disability;
      b.    failing and/or refusing to timely and properly reinstate plaintiff into
            his job position following completion of his protected leave;
      c.    failing and/or refusing to afford and/or allow plaintiff reasonable
            accommodation(s) which would have enabled him to maintain and
            perform the essential functions of the job, if any were needed,
            including but not limited to leave time with proper and full
            reinstatement;
      d.    failing and/or refusing to afford and/or allow plaintiff reasonable
            accommodation(s), which would have enabled him to maintain and
            perform the essential functions of the job, if any were needed,
            including but not limited to having others assist with any lifting
            activity and/or additional leave time until lifting restrictions were
            removed;
      e.    terminating plaintiff’s employment solely because of his disability
            and/or as a result of its failure to afford plaintiff reasonable
            accommodation(s);
      f.    failing and/or refusing to timely and properly engage with plaintiff in
            the interactive process required by the Rehabilitation Act;
      g.    terminating plaintiff for exercising rights under the Rehabilitation
            Act; and

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      h.    Alternatively, regarding plaintiff as being disabled, and terminating
            him and/or refusing to reinstate him based solely on the basis of such
            in violation of the Rehabilitation Act and/or having a record of
            suffering from a disability.

44.   Defendant’s violations of the Rehabilitation Act were done with malice

      and/or reckless indifference plaintiff’s rights, thereby entitling plaintiff to

      punitive damages, in addition to all other damages available at law.

45.   As a direct and proximate result of the defendant’s violations of the

      Rehabilitation Act and the regulations promulgated thereunder, plaintiff has

      incurred all damages available at law, both past, present and into the future,

      specifically including all damages provided for in 29 USC § 794a, including

      but not limited to lost wages, lost overtime wages, the value of lost

      employment benefits, loss of other compensation denied and lost,

      consequential damages, any incurred medical expenses, interest, costs of

      litigation, and attorney fees. Plaintiff hereby seeks recovery of, and is

      entitled to recovery of, all such damages incurred, and those that will be

      incurred in the future (including front-pay).

46.   In the event the Court deems reinstatement to be a remedy more appropriate

      than front-pay for future damages, then plaintiff, in the alternative, hereby

      seeks an injunctive order compelling defendant to reinstate plaintiff to his

      former position, compelling defendant to retroactively restore plaintiff’s


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      seniority rights and/or opportunities for promotion, declaring that the

      defendant violated the Rehabilitation Act in the aforementioned ways,

      enjoining defendant from further violations of the Rehabilitation Act against

      plaintiff and others, enjoining defendant from taking any adverse

      employment action against plaintiff in retaliation for exercising her rights

      under the Rehabilitation Act, and enjoining defendant from taking any

      adverse employment action against plaintiff except upon a showing of just

      and good cause by clear and convincing evidence. Even if the Court orders

      such reinstatement, plaintiff nevertheless is entitled to recover, and hereby

      seeks recovery of all other damages listed in this complaint, including back-

      pay, the value of lost benefits, consequential damages, the costs of any

      medical care, attorney fees, costs, interest, etc.


  E. Count III – Violation(s) of the Michigan Persons with Disabilities Civil
       Rights Act, MCL § 37.1101, et seq – Disability Discrimination;
                  Failure to Accommodate; and Retaliation

Plaintiff incorporates all prior averments, as if fully set forth herein.

47.   Plaintiff has at all pertinent times been a person with a disability within the

      meaning of MCL § 37.1103(g) whose disability qualifies as such under

      MCL § 37.1103(d).

48.   Defendant was at all pertinent times an employer of plaintiff within the


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      meaning of MCL § 37.1201(b), and is subject to the prohibitions against

      discrimination on the basis of disability contained in the Michigan Persons

      with Disabilities Civil Rights Act, MCL § 37.1101, et seq. (“PWDCRA”).

49.   Plaintiff was qualified for the job position he held with defendant.

50.   Defendant failed and/or refused to provide plaintiff with one or more

      reasonable accommodation(s), including full leave rights, full reinstatement

      rights, and additional leave rights as needed; terminated his employment

      due to the leave time plaintiff took and/or needed as an accommodation;

      failed to timely and properly reinstate plaintiff into his job position; and/or

      failed to afford plaintiff additional leave time as a reasonable

      accommodation (if needed).

51.   Defendant violated the PWDCRA by, and is liable to plaintiff under the

      PWDCRA for:

      a.    taking the aforementioned adverse employment action(s) against
            plaintiff solely because of his disability;
      b.    failing and/or refusing to timely and properly reinstate plaintiff into
            his job position following completion of his protected leave;
      c.    failing and/or refusing to afford and/or allow plaintiff reasonable
            accommodation(s) which would have enabled him to maintain and
            perform the essential functions of the job, if any were needed,
            including but not limited to leave time with proper and full
            reinstatement;
      d.    failing and/or refusing to afford and/or allow plaintiff reasonable
            accommodation(s), which would have enabled him to maintain and
            perform the essential functions of the job, if any were needed,
            including but not limited to having others assist with any lifting

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            activity and/or additional leave time until lifting restrictions were
            removed;
      e.    terminating plaintiff’s employment solely because of his disability
            and/or as a result of its failure to afford plaintiff reasonable
            accommodation(s);
      f.    failing and/or refusing to timely and properly engage with plaintiff in
            the interactive process required by the PWDCRA;
      g.    terminating plaintiff for exercising rights under the PWDCRA; and
      h.    Alternatively, regarding plaintiff as being disabled, and terminating
            him and/or refusing to reinstate him based solely on the basis of such
            in violation of the PWDCRA and/or having a record of suffering from
            a disability.

52.   Defendant’s violations of the PWDCRA were done with malice and/or

      reckless indifference to plaintiff’ rights, thereby subjecting defendant to

      exemplary damages, in addition to all other damages available at law.

53.   As a direct and proximate result of defendant’s violations of the PWDCRA,

      Plaintiff suffered emotional distress, mental anguish, pain and suffering.

54.   As a direct and proximate result of defendant’s violations of the PWDCRA,

      plaintiff suffered economic damages including loss of wages/salary, loss of

      overtime wages, consequential damages, the value of lost benefits, back

      pay, front pay, and any incurred medical expenses.

55.   Plaintiff hereby seeks the recovery of all compensatory (past and future

      economic and non-economic damages) available under the law, litigation

      costs, interest, and all exemplary damages available at law, as well as all

      attorney fees incurred in having to investigate, pursue, litigate and prosecute


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      this claim pursuant to the PWDCRA.

56.   In the event the Court deems reinstatement to be a remedy more appropriate

      than front-pay for future damages, then plaintiff, in the alternative, hereby

      seeks an injunctive order compelling defendant to reinstate plaintiff to his

      former position, compelling defendant to retroactively restore plaintiff's

      seniority rights and/or opportunities for promotion, declaring that defendant

      violated the PWDCRA in the aforementioned ways, enjoining defendant

      from further violations of the PWDCRA against plaintiff and others,

      enjoining defendant from taking any adverse employment action against

      plaintiff in retaliation for exercising her rights under the PWDCRA, and

      enjoining defendant from taking any adverse employment action against

      plaintiff except upon a showing of just and good cause by clear and

      convincing evidence. Even if the Court orders such reinstatement, plaintiff

      nevertheless is entitled to recover, and hereby seeks recovery of all other

      damages listed in this complaint, including back-pay, non-economic

      damages, the value of lost benefits, consequential damages, the costs of any

      medical care, attorney fees, exemplary damages, costs, interest, etc.

      WHEREFORE the plaintiff respectfully requests this Honorable Court to

enter judgment in his favor, and against the defendant, for all compensatory

damages (past and future economic and non-economic damages), liquidated

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damages, exemplary damages available under the law, as well as all litigation

costs, interest, and attorney fees incurred in having to investigate, pursue, litigate

and prosecute this claim pursuant to the FMLA, the Rehabilitation Act, and the

PWDCRA.

                                                 Respectfully submitted,

                                                 THE NISKAR LAW FIRM, PLLC

                                                 By: /s/ Joey S. Niskar
                                                 JOEY S. NISKAR (P55480)
                                                 Attorney for Plaintiff
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Dated: September 12, 2024                        joey@wrongfullydischarged.com




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                        UNITED STATES OF AMERICA

 IN THE DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

DANIEL MCLEOD,

                   Plaintiff,                          Case No. 24-12407

-v-

ENNIS CENTER FOR CHILDREN, INC.,

               Defendant.
____________________________________/

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Attorney for Plaintiff
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(248) 702-6262
joey@wrongfullydischarged.com

____________________________________/


                         DEMAND FOR JURY TRIAL

      NOW COMES the plaintiff, Daniel McLeod, by and through his attorneys,

The Niskar Law Firm, PLLC, and hereby demands a trial by jury on all issues,

claims and defenses in this case.




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                                           Respectfully submitted,

                                           THE NISKAR LAW FIRM, PLLC

                                           By: /s/ Joey S. Niskar
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Dated: September 12, 2024                  joey@wrongfullydischarged.com




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